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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

CONNIE JAMISON,
CIVIL NO. 3:18-CV-01 131
Plaintiff,
CJRA TRACK: B
Vs
PRESUMPTIVE TRIAL MONTH: August
NCC BUSINESS SERVICES, INC., 2919
Defendant. JUDGE: REONA J. DALY

 

 

AMENDED JQIN'I` REPORT OF PARTIES
ED H D D DI RY RDER

Pursuant to Federal Rule of Civi| Procedure 26(D and SDlL-LR 16.2(a), an initial
conference of the parties was held on july l§, 29 13 with the undersigned attorneys

 

participating

 

SCHEDULING AND DISCOVERY PLANS WERE DISCUSSED AND AGREED TO
AS FOLLOWS:

l. Initial interrogatories and requests to produce, pursuant to Federal Rules of Civil
Procedure 33 and 34 shall be served on opposing parties by March 19, 2019.

2. Plaintiff’ s deposition shall be taken by Apri! §, ZQIQ.

3. Defendant’s deposition shall be taken by April 8, 2019.

4. Motions to amend the pleadings, including the commencement of a third party action,
shall be filed by ML‘_LSL_ZQLS (which date shall be no later than 90 days following the

Scheduling and Discovery conference).

5. Expert witnesses shall be disclosed, along with a written report prepared and signed by
the Witness pursuant to Federal Rule of Civil Procedure 26(a)(2), as follows:

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a. Plaintiff’s expert(s): M.
b. Defendant’s expert(s):]anu_ary 15, 2019
6. Depositions of expert witnesses must be taken by: Plaintiff`s expert(s): December 14
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The parties CERTIFY that they have discussed, in particular, the proportionality of discovery,
the burden and expense associated with discovery, and the discovery of electronically stored
information (ESI). The parties E do l:l do not anticipate a need for an ESI protocol.

6. Discovery shall be completed by M(which date shall be no later than
115 days before the first day of the month of the presumptive trial month or the
first day of the month of the trial setting). Any written interrogatories or request for
production served after the date of the Scheduling and Discovery Order shall be
served by a date that allows the served parties the full 30 days as provided by the
Federal Rules of` Civil Procedure in which to answer or produce by the discovery
cut-off date.

7. All dispositive motions shall be filed by Ap;i! 23, 2012 (which date shall be no
later than 100 days before the first day of the month of the presumptive trial
month or the first day of the month of the trial setting). Dispositive motions
filed after this date will not be considered by the Court.

8. The parties are reminded that, prior to filing any motions concerning discovery,
they must first meet and confer relating to any discovery disputes and then contact
the Court to arrange a telephone discovery dispute conference if they are unable to
resolve their dispute. If the dispute cannot then be resolved in the first telephonic
conference, the Court will establish, with the input of the parties, the mechanism for
submitting written positions to the Court on an expedited basis.

DATED: July 26, 2018

[s/Richard A. Vo§gas, Jr,
Richard A. Voytas, Jr.

Attorney for Plaintiff

L§Daxisl.l\_/L§QJLE
David M. Shu|tz
Attorney for Def`endant

